Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page1of10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Srikanth Sreedhar

Write the full name of each plaintiff. CV
(Include case number if one has been
assigned)
-against-
COMPLAINT
Ravi Duvvuri

Do you want a jury trial?
Wi Yes LINo

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

Rev. 1/9/17

Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page 2 of 10

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
Federal Question
Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
28 U.S. Code § 3201 - Judgment liens

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff, Srikanth Sreedhar , is a citizen of the State of
(Plaintiffs name)

NEW YORK

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page 3of 10

If the defendant is an individual:

The defendant, Ravi Duvvuri

(Defendant’s name)

North Carolina

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

, is a citizen of the State of

If the defendant is a corporation:

The defendant, , is incorporated under the laws of

the State of

and has its principal place of business in the State of

or is incorporated under the laws of (foreign state)

and has its principal place of business in

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

II. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Srikanth Sreedhar

First Name Middle Initial Last Name
1-15-49/355

Street Address

Dr A S Rao Nagar TS, INDIA 500062
County, City State Zip Code

Srikanth. Officially@gmail.com

Telephone Number Email Address (if available)

Page 3
Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page 4of10

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:

Defendant 2:

Defendant 3:

Ravi Duvvuri
First Name Last Name
Cricket Player

Current Job Title (or other identifying information)
424 Hopwood Way

Current Work Address (or other address where defendant may be served)

Apex NC
County, City State Zip Code
First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code

Page 4
Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page5of 10

Defendant 4:

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code

II. STATEMENT OF CLAIM
Place(s) of occurrence: California, New York

Date(s) of occurrence: 2007-present

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

QUOTE from Court Order in 1. 25-CV-0407
2. 25-CV-0482
. 25-CV-0522
. 25-CV-0699
-25-CV-1853
. 25-CV-2213

Om PION

(1) he can state a plausible claim against a named defendant: (2) this Court has
jurisdiction

-of the-claims;and_(3} thatthis Gourtis_a proper venue for these claims

UNQUOTE

The details below establish to the best of my understanding that |am a NEW YORK

later. By this logic, since the employer failed to ensure my return to Boston on departure

from Canada thus violating the contract, | have to right to call myself a CANADIAN

RESIDENT until the employer ensures my return to Boston. Thus, | even have the right

totreturn-to-my home in Canada just ast nave the rightto return tomy home in Boston —

Page 5
Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page 6of10

When leaving Boston for Canada in May 2008, I'm a resident of Boston. | have the California
Tax Return Document as proof that even as late as 11/24/09, | continued to have access to
my address in Boston, MA.

When leaving Canada for the US, I'm a NEW YORK CITIZEN, who traveled to Lake Placid,
NEW YORK sometime between May 2008 to Sept 2008 without a visa. (Coworkers Steve
Nicaise and Kim Gannon are witnesses as they traveled with me to Lake Placid, NY)

On re-entry to the US in Aug 2008 on issue of visa in the US Consulate in Montreal, Canada
after my return from Lake Placid to Canada, I'm a resident of Fairfax, VA as the employer
says that from now on Fairfax, VA is my home and not Boston.

As per the Contract, I'm a US CITIZEN as the visa has been issued and the contract stands
on issue of visa.

So, where is my HOME?

Who decides where my home is? The Court? So the COURT will decide where | choose my
HOME to be?

Does the EMPLOYER decide where | choose my HOME to be?
Do | have any say in the matter of where MY HOME is?

My PhD supervisor put it in WRITING in my Academic Transcript that he is awarding an 'A'
Grade for me for 'Special Problems' and a'S' Grade for research. Yet, he terminated my
employment as if he can fire me from my job with the STATE UNIVERSITY. I'm an employee
of the STATE OF FLORIDA. So, am | a resident of Florida, who employment with the
University of Florida (a STATE UNIVERSITY) has been terminated wrongly?

I'm not making this stuff up. The facts are clearly borne out by supporting documents.

The Court appears to be extremely nervous about making the US Govt a party in the case.
Why did the Court bring up the issue of USCIS? Is the Court the ATTORNEY of USCIS to
speak on behalf of the USCIS or the US State Dept or the US Govt? It is for the US Govt to
come to court and make their case out for why I'm NOT a US CITIZEN. But the Court is
PREVENTING the US Govt from coming to the Court. It is alright if the Court acts as MY
ATTORNEY as I'm a PRO SE LITIGANT without legal representation or knowledge of legal
jargon. But the Court is doing the REVERSE and is acting like the ATTORNEY of the US Govt
and is refusing to ensure that the US Govt came to the Court.

Even on the issue of whether Ravi Duvvuri can be sued in NEW YORK, the fact is that I'm a
NEW YORK CITIZEN and | have the right to sue him in NEW YORK.

The facts of the case are:

1) Duvvuri, | and another guy gave our checks for the security deposit directly to the landlord.
Only Duvvuri and | signed the apt lease.

2) When Duwvuri and the other guy damaged the furniture following a fight, | released Duvvuri

Page 6
Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page 7 of 10

from the lease to avoid further incidents going forward.

3) Landlord refused to give Duvvuri his share of the security deposit until the expiry of the
lease, which is how the California roommate law is.

4) Duvvuri came back to me after meeting the landlord and asked me for the security deposit
and quarreled. | refused to give him the security deposit as he damaged the furniture and the
works.

5) Duvvuri then promised that he would return the security deposit on getting a job. So | gave
him his share of the security despite by writing on the check "student loan".

6) Thus far, Duvvuri has not returned the money.

7) The court is aware that on Jan 28, 2025, | sent an email to the Court and copied Duvvuri's
Cricket League / Tournament on it and | have not heard back from Duvvuri.

lam NOT OBLIGATED to give any money for security deposit to Duvvuri as he gave the
security deposit directly to the landlord.

| even paid $364.55 to the LANDLORD over and above the security deposit when the
landlord billed me after | already arrived in Boston from California.

Thus, | have lost my share of the security deposit, Duvvuri's share of the security deposit and
$364.55. | have the right to recover this money from Duvvuri WITH INTEREST.

Money does not grow on TREES.

| request the Court to please introspect on why the Court claims that I'm not a NEW YORK
CITIZEN and US CITIZEN. My documents should be accepted in the CRIMINAL CASE
1:14-cr-00176-WHP against Devyani Khobragade in SDNY that is still open in order to prove
conclusively that I'm a NEW YORK CITIZEN who traveled to Lake Placid from Canada
WITHOUT a visa. Khobragade should get compensation for mental torture due to illegal strip
/ cavity search and public humiliation.

US Marshals must be directed by the SDNY to contact Ravi Duvvuri in North Carolina. US
Marshals broke the law in the matter of Khobragade's Strip / Cavity Search.

The Court must direct Duvvuri to return the money that he owes me along with interest. My
address in California was: 655 S. Fair Oaks Ave, Apt # D203, Sunnyvale CA 94086.

Due to my experience in California & other reasons, if | chose to not sign the apt lease in
Boston, it doesn't mean that the employer gets to stop my return to my home in Boston.

Without looking at my CREDIT CARD STATEMENTS and without talking to coworkers Steve
Nicaise and Kim Gannon, how can the Court say that I'm not a NEW YORK CITIZEN when |
didn't even need a VISA to travel to Lake Placid, NY but needed a visa to return to Boston
from Canada?

Clearly I'm a NEW YORK Citizen.

It can't be that for breakfast I'm a Boston citizen, for lunch I'm a New York Citizen and for
dinner I'm a Fairfax, VA citizen and that I'm a US Citizen inside the Consulate but not a US

Page 7
Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page 8 of 10

CITIZEN when | am in the US.

| request the Court to stop being the ATTORNEY of the US Govt by speaking like the US
Govt's Attorney by bringing up USCIS to distort the narrative when the issue is the US STATE
DEPT AND US Govt suing Khobragade in SDNY.

If I'm NOT a US CITIZEN and if I'm not a resident of Boston or Fairfax, VA or New York, then

it means that | can sue the US Govt in ANY FEDERAL COURT in the US because the
incident occurred in Canada.

Page 8
Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page 9of 10

If the Court is SO SCARED of issuing summons to the US Govt even when the
ARIAL BAOE rthe-Ktrol —theritisjusttikethe-€ rch

screwing citizens even when NITK caused death of a student.

CITIZEN and New York Citizen, why am | not a US CITIZEN even when the contract
“CLEARLY States that tmra-US CITIZEN? The US Govt started a CRIMINAL ACTION —

against Khobragade for breaking the contract that she and the maid signed. Thus, how
on earth am | not a US CITIZEN when the visa has been issued and when the contract

-clearly-statesthatt m-aJS-C HAZEN $$$

iné employer cant JUST LIKE TRAT stop me trom accessing my home.

Please act. I'm a legitimate NEW YORK CITIZEN.

INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

Interfering with my right to quiet enjoyment of the premises, impacting decisions on

Signing apt léase in Boston, which gave an excuse to the employer to block my access to

my home in Boston.

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

| request the court to let me file in case 1:14-cr-00176-WHP the documents that will
establish my US CITIZENSHIP and New York Citizenship as the US Govt has initiated
criminal action against Devyani Khobragade and the case is still open. My case is very
closely related to this criminal case and will clearly prove my NEW YORK CITIZENSHIP
so that | can sue Ravi Duvvuri in SDNY to recover with Interest the apt security deposit
that he promised to return to me on securing a job and the additional charges that the
landlord imposed on me. This amount may come to around $2000 WITH INTEREST or
perhaps more if we assume approximately 3% interest.

Page 9
Case 1:25-cv-04269-LTS Document1 Filed 05/19/25 Page 10 of 10

V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP Te,

5/19/25

Dated Plaintiff's Signature a @ “
Srikanth Sreedhar

First Name Middle Initial Last Name
1-15-49/355

Street Address

Dr AS Rao Nagar TS, INDIA 500062

County, City State Zip Code

Srikanth.Officially@gmail.com

Telephone Number Email Address (if available)

I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
ViYes LINo

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 10
